  Case 2:06-cr-00055         Document 74         Filed 06/22/06      Page 1 of 2 PageID #: 233




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                                Plaintiff,

v.                                                      CRIMINAL ACTION NO. 2:06-cr-00055-01
ALBERT D. MCCANTS,


                                Defendants.



                                               ORDER

        Pursuant to the Supreme Court’s opinion in United States v. Booker, 125 S. Ct. 738 (2005),

this court must, after making the appropriate findings of fact, calculate the applicable guideline range

and then consider that range, the Sentencing Guidelines, and other relevant factors set forth in 28

U.S.C. §3553(a), before imposing sentence. Accordingly, the court ORDERS counsel for each party

to file a sentencing memorandum in this matter by September 14, 2006.

        If relevant conduct is suggested by the presentence report as appropriate to be raised in the

calculation of the guideline sentence, then the defendant shall state specifically any objection to the

use of any alleged conduct, including any assertion that the conduct is not appropriate for purposes

of calculating the guideline sentencing range. Each party shall also discuss any other 18 U.S.C. §

3553(a) factors that they deem relevant to the court’s determination of an appropriate sentence.

        The court will consider the failure of a defendant to object to any relevant conduct alleged

in the presentence report to be an admission of that conduct. If there are objections to relevant

conduct, the parties shall list the witnesses to be called to address the relevant conduct application
  Case 2:06-cr-00055         Document 74        Filed 06/22/06       Page 2 of 2 PageID #: 234




and include a brief proffer of each witness’ expected testimony. The memorandum of each party

shall also list any witness to be called for a purpose related to non-guideline sentencing factors and

include a brief proffer of the witness’ expected testimony.

       The memorandum should include an estimate of the time the party believes will be required

for the sentencing hearing. Additionally, each party may make an argument in the memorandum for

a specific sentence in the absence of a plea agreement provision to the contrary. Each party shall also

brief any issue of law to be argued at the sentencing hearing. The parties may request that the

memorandum be filed under seal if information contained therein might compromise an ongoing

investigation or expose any person to an increased risk of harm.

       In addition to filing the sentencing memorandum with the court, counsel are DIRECTED

to provide a copy of the same to opposing counsel and to the probation officer.

       The court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel, the

United States Attorney, the United States Probation Office, and the United States Marshal.

                                               ENTER:          June 22, 2006




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